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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA         :
                                 :     CASE NO. 21-cr-46 (RDM)
         v.                      :
                                 :
PATRICK MONTGOMERY and           :
BRADY KNOWLTON,                  :
                                 :
               Defendants.       :


GOVERNMENT’S RESPONSE TO DEFENDANTS’ JOINT SUPPLEMENTAL BRIEF
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                                      INTRODUCTION

       On August 3, 2021, this Court ordered supplemental briefing on whether 18 U.S.C.

§ 1512(c)(2) applies to the defendants’ obstruction of Congress’s certification of the Electoral

College vote on January 6, 2021. The answer is yes. Nothing in Section 1512(c)(2)’s text,

structure, or history, or in the relevant precedent, limits that provision to obstruction tied to

documentary or tangible evidence. In any event, even if such a limitation existed, the defendants’

alleged conduct falls within the scope of the statute.

                               RELEVANT BACK GROUND

       1. Congress enacted a prohibition on “Tampering with a record or otherwise impeding an

official proceeding” in Section 1102 of the Sarbanes-Oxley Act of 2002, Pub. L. No. 107-204, 116

Stat. 745, 807, and codified it within the pre-existing Section 1512 as subsection (c). That

prohibition applies to

       (c) [w]hoever corruptly--
               (1) alters, destroys, mutilates, or conceals a record, document, or other object, or
               attempts to do so, with the intent to impair the object’s integrity or availability for
               use in an official proceeding; or
               (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts
               to do so.

18 U.S.C. § 1512(c) (emphasis added).

       2. At 1:00 p.m., on January 6, 2021, a Joint Session of the United States Congress,

consisting of the House of Representatives and the Senate, convened in the United States Capitol

building. The Joint Session assembled to debate and certify the vote of the Electoral College of

the 2020 U.S. Presidential Election. The defendants, Patrick Montgomery and Brady Knowlton,

joined a mass of others congregated outside the Capitol building. Montgomery assaulted a police

officer, kicking him in the chest and trying to rip away the officer’s baton. While outside the



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building, Knowlton turned to law enforcement officers, asking them, “Are you our brothers?” The

defendants, one of them clad in a tactical vest, then penetrated the Capitol building and proceeded

all the way to the Senate Chamber, where they stood in the Senate Gallery. Shortly after leaving

the Gallery, the defendants encountered additional law enforcement officers; Knowlton told the

officers, “This is not about us. This is bigger than me, it’s bigger than you. It’s about everyone’s

right to self-government. . . . This is happening. Our vote doesn’t matter, so we came here for

change.” Montgomery told the officers, “You gotta quit doing your job and be an American.”

          As a result of the actions of these defendants and hundreds of others, Congress was forced

to halt its proceedings and evacuate the House and Senate Chambers. After the building was

secured later that day, Congress reconvened and completed counting, certifying, and declaring the

Electoral College vote result.

          3. On April 16, 2021, the grand jury returned an Indictment, charging the defendants with

ten counts, including Count Ten, obstruction of an official proceeding and aiding and abetting that

obstruction, in violation of 18 U.S.C. §§ 1512(c)(2) and 2. ECF 23. The defendants moved to

dismiss Count 10, ECF 39-1, 40, the government responded, ECF 41, and the defendants filed a

reply, ECF 48. On August 3, 2021, the Court heard argument on the defendants’ dismissal motion.

At that hearing, the Court directed the parties to file supplemental briefs addressing whether the

charged obstruction statute, 18 U.S.C. § 1512(c)(2), applies to the conduct alleged in the

Superseding Indictment. On September 17, 2021, the defendants filed a supplemental brief. ECF

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                                         ARGUMENT

SECTION 1512(C)(2) APPLIES TO THE CONDUCT ALLEGED IN THE SUPERSEDING
                               INDICTMENT

       Section 1512(c)(2) provides that “[w]hoever corruptly . . . obstructs, influences, or impedes

any official proceeding” has committed a crime. A person violates that statute when, acting with

the requisite mens rea, he engages in conduct that obstructs a specific congressional proceeding.

See 18 U.S.C. § 1512(c)(2); § 1515(a)(1)(B). Section 1512(c)(2) is not unconstitutionally vague

or overbroad, and nothing in its text, structure, or history limits it to obstruction tied to

documentary or tangible evidence. Nor does the Supreme Court’s decision in Yates v. United

States, 574 U.S. 528 (2015)—which construed a different term in a different statute—support

imposing such an atextual limitation in Section 1512(c)(2). But even if such a limitation existed,

the statute encompasses the defendants’ alleged conduct.

I.     The certification of the Electoral College vote is an official proceeding.

       The defendants reiterate (Supp. Br. 3-18 (ECF 60)) their contention that the certification

of the Electoral College vote is not an “official proceeding” for purposes of Section 1512(c)(2).

See Def. Mot. to Dismiss, ECF 39-1, at 6-12. As explained in the government’s prior response,

that contention is incorrect. See Gov’t Opp. to Def. Mot. to Dismiss, ECF 41, at 8-15. Section

1515(a)(1)(B) defines an “official proceeding” as a “proceeding before the Congress,” which

encompasses the certification proceeding undertaken by the Joint Session on January 6, 2021. See

id. at 9-12. None of the defendants’ new arguments undermines that straightforward analysis.

       First, the defendants suggest (Supp. Br. 4-7) that contextual features and interpretative

canons support their reading that the certification of the Electoral College vote is not an official

proceeding. That approach overlooks the provision’s plain language, see ECF 41, at 9-13, and

fails on its own terms. For example, the defendants argue (Supp. Br. 5-6) the preposition “before”

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read in conjunction with the noscitur a sociis canon limits the definitions in Section 1515(a)(1) to

proceedings that “qualify as ‘tribunals.’” Supp. Br. 6. To the extent that “before” refers to “some

formal convocation of the agency in which parties are directed to appear,” see United States v.

Young, 916 F.3d 368, 384 (4th Cir.) (internal quotation marks omitted), cert. denied, 140 S. Ct.

113 (2019), the certification of the Electoral College vote involves a “formal convocation” of

Congress to assess the Electoral College vote and “declare[]” the “result” of the presidential

election, 3 U.S.C. § 16. And while the noscitur a sociis canon can provide clarity to a provision

of “obscure or doubtful meaning,” Russell Motor Car Co. v. United States, 261 U.S. 514, 520

(1923), it has no role to play where, as here, the term in question—“a proceeding before the

Congress,” § 1515(a)(1)(B)—is clear, see ECF 41, at 9-11; see Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 195 (2012).

        Second, the defendants delve (Supp. Br. 7-10) into history to discern whether the

certification of the Electoral College vote qualifies as an “adjudicatory” proceeding. As an initial

matter, the “adjudicatory” gloss the defendants purport to give to the “official proceeding”

definition in Section 1515(a)(1) finds no support in the statute itself. See ECF 41, at 12-15. But

even if such a gloss applied, the certification of the Electoral College vote as set out in the Electoral

Count Act of 1887 would qualify. Far from a “ministerial act” (Supp. Br. 7), the certification of

the Electoral College vote involves the convening of a Joint Session of Congress, a deliberative

body over which a government officer, the Vice President as President of the Senate, “presid[es].”

3 U.S.C. § 15. That Joint Session renders judgment on whether to certify the votes cast by Electors

in the presidential election. Under the Constitution, the Electors create “lists” of the presidential

and vice-presidential candidates, which they “sign” and “certify” before sending to Congress. U.S.

Const. amend. XII. Congress then decides whether to count those certified lists, or certificates in



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conformity with the Electoral Count Act. 3 U.S.C. § 15; see Vasan Kesavan, Is the Electoral

Count Act Unconstitutional?, 80 N.C. L. Rev. 1653, 1659 (2002) (Under the Electoral Count Act,

“the President-elect is not elected by ‘We the People’ on election day, or even by the electors on

the day they cast their votes, but by the joint convention of the Senate and House of Representatives

on the day the electoral votes are formally counted”). As in an adjudicative setting, parties may

lodge objections to the certification, and if any such objection is lodged, each House must consider

the objection and make a “decision” whether to overrule or sustain it. 3 U.S.C. § 15. And just as

a jury does not (barring a mistrial) recess until it has a reached a verdict, the Joint Session cannot

“be dissolved” until it has “declared” a “result.” 3 U.S.C. § 16.1 Nothing in the history the

defendants describe suggests a different conclusion.

       The defendants’ “examples” (Supp. Br. 10-18) of proceedings “held pursuant to Congress’

power of inquiry and to investigate” (id. at 11) offer no insight for how to interpret the term

“official proceeding” in Section 1512. To be sure, the proceedings the defendants identify—the

Watergate investigation, the Iran-Contra investigation, the Major League Baseball investigation,

the Russian election interference investigation, and the post-collapse inquiry and investigation of

Enron, id. at 11-12—would each appear to qualify as a “proceeding before the Congress.” See 18

U.S.C. § 1515(a)(1)(B). It does not follow, however, that only proceedings in which Congress is

“exercising its power of inquiry” (Supp. Br. 14) satisfy the “official proceeding” definition. Had

Congress sought to limit the “official proceeding” definition in that way, it could have—but did

not—import precisely that language from 18 U.S.C. § 1505, which applies to “due and proper

exercise of the power of inquiry under which any inquiry or investigation is being had” (emphasis


1
 The defendants’ discussion (Supp. Br. 9-10) of the House Judging Clause, U.S. Const. art. 1, § 5,
sheds no light on the certification of the Electoral College vote under the ECA and the Twelfth
Amendment.

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added) by Congress. 2 See Russello v. United States, 464 U.S. 16, 23 (1983) (refraining from

concluding that “differing language in the two subsections has the same meaning in each”). The

broader language Congress used in Section 1515(a)(1)(B) thus covers a broader range of

proceedings than “inquir[ies] or investigation[s]” covered in Section 1505—including the Joint

Session that meets to certify the Electoral College vote.

II.    Section 1512(c)(2)’s text, structure, and history confirm that its prohibition on
       obstructive conduct covers the defendants’ actions on January 6, 2021.

       In Section 1512(c)(2), Congress comprehensively prohibited conduct that intentionally and

wrongfully obstructs official proceedings. The ordinary meaning of “obstruct[], influence[], or

impede[]” encompasses a wide range of conduct designed to frustrate an official proceeding. That

conduct can include lying to a grand jury or in civil proceedings, exposing the identity of an

undercover agent, and burning a building to conceal the bodies of murder victims. It also includes

storming into the Capitol to derail a congressional proceeding. A defendant who, acting with the

necessary mens rea, obstructs (or attempts to obstruct) Congress’s certification of the Electoral

College vote, commits a crime under Section 1512(c)(2).

       1. Section 1512(c)(2)’s text and structure demonstrate that it serves as a comprehensive

prohibition on corrupt conduct that intentionally obstructs or impedes an official proceeding.

When interpreting a statute, courts look first to the statutory language, “giving the words used their

ordinary meaning.” Lawson v. FMR LLC, 571 U.S. 429, 440 (2014) (internal quotation marks

omitted). If the statutory language is plain and unambiguous, this Court’s “inquiry begins with


2
  The defendants’ reliance on legislative history (see Supp. Br. 13-17) suffers a similar flaw.
Congress considered, but ultimately did not enact a narrower prohibition on obstructing the
“exercise of a legislative power of inquiry,” see S. 1722, 96th Cong. § 1323(a)(2)(C) (1979), opting
instead for the broader provision covering obstruction of any “proceeding before the Congress”
currently found in Section 1515(a)(1)(B). See United States v. Poindexter, 951 F.2d 369, 382
(D.C. Cir. 1991) (discussing the unenacted Senate version of Section 1512).

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the statutory text, and ends there as well.” National Ass’n of Mfrs. v. Department of Defense, 138

S. Ct. 617, 631 (2018) (internal quotation marks omitted). Here, the meaning of “obstruct[],

influence[], or impede[]” is controlled by the ordinary meaning of those words.

        The verbs Congress selected in Section 1512(c)(2) reach broadly. For example, the words

“obstruct” and “impede” can “refer to anything that ‘blocks,’ ‘makes difficult,’ or ‘hinders.’”

Marinello v. United States, 138 S. Ct. 1101, 1106 (2018) (brackets omitted) (citing dictionaries).

Similarly, “influence” includes “affect[ing] the condition of” or “hav[ing] an effect on.” Influence,

Oxford English Dictionary, available at http://www.oed.com. By their plain meaning, therefore,

the string of verbs in Section 1512(c)(2) are properly viewed as “expansive” in their coverage. See

United States v. Burge, 711 F.3d 803, 809 (7th Cir. 2013).

        Section 1512(c)’s structure confirms that straightforward interpretation. Section 1512(c)

consists of two provisions, which both require the defendant to act “corruptly.” First, Section

1512(c)(1) criminalizes “alter[ing], destroy[ing], mutilat[ing], or conceal[ing] a record, document,

or other object . . . with the intent to impair the object’s integrity or availability for use in an official

proceeding.” Section 1512(c)(2), by contrast, applies more generally to any acts that “otherwise

obstruct[], influence[], or impede[]” an official proceeding. The term “otherwise,” consistent with

its ordinary meaning, conveys that Section 1512(c)(2) encompasses misconduct that threatens an

official proceeding “beyond [the] simple document destruction” that Section 1512(c)(1)

proscribes. Burge, 711 F.3d at 809; United States v. Petruk, 781 F.3d 438, 446-47 (8th Cir. 2015)

(noting that “otherwise” in Section 1512(c)(2), understood to mean “in another manner” or

“differently,” implies that the obstruction prohibition in that statute applies “without regard to

whether the action relates to documents or records”) (internal quotation marks omitted); see also

United States v. Ring, 628 F. Supp. 2d 195, 224 n.17 (D.D.C. 2009) (noting that Section 1512(c)(2)



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is “plainly separate and independent of” Section 1512(c)(1), and declining to read “otherwise” in

Section 1512(c)(2) “as limited by § 1512(c)(1)’s separate and independent prohibition on

evidence-tampering”); Otherwise, Oxford English Dictionary, available at http://www.oed.com

(defining otherwise as “in another way” or “in any other way”); see also Gooch v. United States,

297 U.S. 124, 127-28 (1936) (characterizing “otherwise” as a “broad term” and holding that a

statutory prohibition on kidnapping “for ransom or reward or otherwise” is not limited by the

words “ransom” and “reward” to kidnappings for pecuniary benefit); Collazos v. United States,

368 F.3d 190, 200 (2d Cir. 2004) (construing “otherwise” in 28 U.S.C. § 2466(1)(C) to reach

beyond the “specific examples” listed in prior subsections, thereby covering the “myriad means

that human ingenuity might devise to permit a person to avoid the jurisdiction of a court”).

        In this way, Section 1512(c)(2) criminalizes the same result prohibited by Section

1512(c)(1)—obstruction of an official proceeding—when that result is accomplished by a different

means, i.e., by conduct other than destruction of a document, record, or other object. Cf. United

States v. Howard, 569 F.2d 1331, 1333 (5th Cir. 1978) (explaining that 18 U.S.C. § 1503, which

criminalizes the result of obstructing the due administration of justice, provides specific means of

accomplishing that result and then a separate catch-all clause designed to capture other means).

Section 1512(c)(2), in other words, “operates as a catch-all to cover otherwise obstructive behavior

that might not constitute a more specific” obstruction offense involving documents or records

under Section 1512(c)(1). Petruk, 781 F.3d at 447 (quoting United States v. Volpendesto, 746 F.3d

273, 286 (7th Cir. 2014)); cf. United States v. Aguilar, 515 U.S. 593, 598 (1995) (describing similar

“[o]mnibus” clause in 18 U.S.C. § 1503 as a catchall that is “far more general in scope than the

earlier clauses of the statute”).




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       Consistent with that interpretation, courts have upheld convictions under Section

1512(c)(2) for defendants who attempted to secure a false alibi witness while in jail for having

stolen a vehicle, Petruk, 781 F.3d at 440, 447; disclosed the identity of an undercover federal agent

to thwart a grand jury investigation, United States v. Phillips, 583 F.3d 1261, 1265 (10th Cir.

2009); lied in written responses to civil interrogatory questions about past misconduct while a

police officer, Burge, 711 F.3d at 808-09; testified falsely before a grand jury, United States v.

Carson, 560 F.3d 566, 584 (6th Cir. 2009); solicited information about a grand jury investigation

from corrupt “local police officers,” Volpendesto, 746 F.3d at 286; and burned an apartment to

conceal the bodies of two murder victims, United States v. Cervantes, No. 16-10508, 2021 WL

2666684, at *6 (9th Cir. June 29, 2021) (unpublished); see also United States v. Martinez, 862

F.3d 223, 238 (2d Cir. 2017) (police officer tipped off suspects before issuance or execution of

search warrants), vacated on other grounds, 139 S. Ct. 2772 (2019); United States v. Ahrensfield,

698 F.3d 1310, 1324-26 (10th Cir. 2012) (law enforcement officer disclosed existence of

undercover investigation to target).

       Section 1512(c)(2) also applies to the defendants’ alleged conduct, which involved

trespassing into the restricted Capitol area, confronting and assaulting law enforcement officers,

and penetrating into the Gallery of the Senate Chamber to prevent a Joint Session of Congress

from certifying the results of the 2020 Presidential election. In so doing, the defendants hindered

and delayed the certification of the Electoral College vote, an “official proceeding” as that term is

defined in the obstruction statute. See 18 U.S.C. § 1515(a)(1)(B). Because construing Section

1512(c)(2) to reach that conduct would neither “frustrate Congress’s clear intention” nor “yield

patent absurdity,” this Court’s “obligation is to apply the statute as Congress wrote it.” Hubbard

v. United States, 514 U.S. 695, 703 (1995) (internal quotation marks omitted).



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       In contrast, reading Section 1512(c)(2) as limited only to obstructive acts akin to the

document destruction or evidence tampering captured in Section 1512(c)(1) suffers at least three

flaws. First, it would give rise to unnecessarily complex questions about what sort of conduct

qualifies as “similar to but different from” the proscribed conduct “described in [Section

1512](c)(1).” United States v. Singleton, No. 06-CR-80, 2006 WL 1984467, at *3 (S.D. Tex. July

14, 2006) (unpublished); see id. (concluding that Section 1512(c)(2) “require[s] some nexus to

tangible evidence, though not necessarily tangible evidence already in existence”); see also United

States v. Hutcherson, No. 05-CR-39, 2006 WL 270019, at *2 (W.D. Va. Feb. 3, 2006)

(unpublished) (concluding that a violation of Section 1512(c)(2) requires proof that “an individual

corruptly obstructs an official proceedings [sic] through his conduct in relation to a tangible

object”). 3 So construed, for example, Section 1512(c)(2) may not encompass false statements

made to obstruct a proceeding—though courts have widely upheld convictions for such conduct.

See Petruk, 781 F.3d at 447 (collecting cases).

       Second, limiting Section 1512(c)(2) in that way would effectively render that provision

superfluous in light of the comprehensive prohibitions against document and evidence destruction

in both Sections 1512(c)(1) and 1519. See Yates, 574 U.S. at 541 n.4 (plurality opinion) (Section

1512(c)(1) provides a “broad ban on evidence-spoliation”) (internal quotation marks omitted). By

contrast, the straightforward interpretation that treats Section 1512(c)(2) as a catch-all for corrupt

obstructive conduct not covered by Section 1512(c)(1) would “give effect to every clause and


3
   Similarly complex questions would dog the defendants’ proposed limitation of Section
1512(c)(2) to “some conduct that impairs the integrity and availability of some evidence” Supp.
Br. 21 (emphasis in original), and William Barr’s proposed limitation to “‘any conduct . . . directed
at undermining a proceeding’s truth-finding function through actions impairing the integrity and
availability of evidence,’” id. at 20 (quoting William Barr, Mueller’s “Obstruction” Theory, June
8, 2018) (emphasis omitted). Even if either such limitation applied, however, the alleged conduct
in this case would satisfy it. See infra, Part VI.

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word” of Section 1512(c). Marx v. Gen. Revenue Corp., 568 U.S. 371, 385 (2013); cf. United

States v. Poindexter, 951 F.2d 369, 385 (D.C. Cir. 1991) (explaining that limiting the catch-all

provision in Section 1503’s omnibus clause to obstructive acts “directed against individuals”

would render that catch-all superfluous because “earlier, specific[] prohibitions” in Section 1503

“pretty well exhaust such possibilities”) (internal quotation marks omitted); United States v. Watt,

911 F. Supp. 538, 546 (D.D.C. 1995) (rejecting interpretation of the Section 1503 omnibus clause

that would “serve no other purpose than to prohibit acts already prohibited in the first part of the

statute” because that reading would “reduce[] the omnibus clause to mere redundancy”).

       Nor does the fact that Congress adopted a more general catch-all in Section 1512(c)(2)

render superfluous other obstruction prohibitions found in Chapter 73, the criminal code’s chapter

on obstruction of justice. Instead, the catch-all in Section 1512(c)(2) serves to capture “known

unknowns.” See Yates, 574 U.S. at 551 (Alito, J., concurring) (quoting Republic of Iraq v. Beaty,

556 U.S. 848, 860 (2009)). Indeed, “the whole value of a generally phrased residual clause . . . is

that it serves as a catchall” to ensure that the full range of conduct Congress sought to regulate

comes within the statute, including “matters not specifically contemplated” by more specific

provisions. Beaty, 556 U.S. at 860. In any event, “[r]edundancies across statutes are not unusual

events in drafting,” Connecticut Nat’l Bank v. Germain, 503 U.S. 249, 253 (1992), and the “rule[]

of thumb” that statutes should be interpreted to avoid superfluity necessarily yields to the “cardinal

canon” that Congress “says in a statute what it means and means in a statute what it says there,”

id. at 253-54.

       Judicial treatment of the nearby omnibus clause in Section 1503, which prohibits “corruptly

. . . influenc[ing], obstruct[ing], or imped[ing], or endeavor[ing] to influence, obstruct, or impede,

the due administration of justice,” 18 U.S.C. § 1503, is instructive. Drafted in “very broad



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language,” the omnibus clause or “catchall provision,” see Aguilar, 515 U.S. at 599, principally

operates to criminalize obstructive conduct that falls outside the narrower prohibitions within

Section 1503 and neighboring provisions. See, e.g., United States v. Sussman, 709 F.3d 155, 168-

70 (3d Cir. 2013) (removing gold coins from safe-deposit box); United States v. Frank, 354 F.3d

910, 916-19 (8th Cir. 2004) (removing car to avoid seizure); United States v. Lefkowitz, 125 F.3d

608, 619-20 (8th Cir. 1997) (instructing employee to remove documents from a house); United

States v. Lester, 749 F.2d 1288, 1295 (9th Cir. 1984) (hiding a witness); United States v. Brown,

688 F.2d 596, 597-98 (9th Cir. 1982) (warning suspect about impending search warrant to prevent

discovery of heroin); Howard, 569 F.2d at 1333-34 (attempting to sell grand jury transcripts). No

court, however, has held that the omnibus clause’s broad language should be given an artificially

narrow scope to avoid any overlap with Section 1503’s other, more specific provisions. Cf.

Pasquantino v. United States, 544 U.S. 349, 358 n.4 (2005) (“The mere fact that two federal

criminal statutes criminalize similar conduct says little about the scope of either.”). The same is

true for the catch-all provision in Section 1512(c)(2).

       Similarly, Section 1512(c)(2)’s partial overlap with other obstruction statutes does not

render those other provisions superfluous. For example, the omnibus clause in 1503 and the

congressional obstruction provision in 1505 both reach an “endeavor[] to influence, obstruct, or

impede” the proceedings—a broader test for inchoate violations than Section 1512(c)(2)’s

“attempt” standard. See United States v. Sampson, 898 F.3d 287, 301 (2d Cir. 2018) (“[E]fforts to

witness tamper that rise to the level of an ‘endeavor’ yet fall short of an ‘attempt’ cannot be

prosecuted under § 1512.”); United States v. Leisure, 844 F.2d 1347, 1366-67 (8th Cir. 1988)

(collecting cases recognizing the difference between “endeavor” and “attempt” standards).

Section 1519, which covers destruction of documents and records in contemplation of an



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investigation or agency proceeding, does not require a “nexus” between the obstructive act and the

investigation of proceeding—but Section 1512(c)(2) does. See infra at 18-22 (describing “nexus”

requirement in Section 1512(c)(2); 38-39 (citing cases holding that no such nexus requirement

applies to Section 1519). The existence of even “substantial” overlap is not “uncommon” in

criminal statutes. Loughrin v. United States, 573 U.S. 351, 358 n.4 (2014). But given that Sections

1503, 1505, and 1519 each reach conduct that Section 1512(c)(2) does not, the overlap provides

no reason to impose an artificially limited construction on the latter provision.

       Third, importing into Section 1512(c)(2) a nexus-to-tangible-evidence-or-documents

requirement would require inserting an extratextual gloss that would render the verbs in Section

1512(c)(2) nonsensical. See Dean v. United States, 556 U.S. 568, 572 (2009) (courts “ordinarily

resist reading words or elements into a statute that do not appear on its face”) (internal quotation

marks omitted). The actus reus that those verbs encompass is obstructing, influencing, and

impeding; a defendant cannot “obstruct” a document or “impede” a financial record. Cf. Yates,

574 U.S. at 551 (Alito, J., concurring) (rejecting interpretation of “tangible object” in Section 1519

that would include a fish in part because of a mismatch between that potential object and the

statutory verbs: “How does one make a false entry in a fish?”); id. at 544 (plurality opinion) (“It

would be unnatural, for example, to describe a killer’s act of wiping his fingerprints from a gun as

‘falsifying’ the murder weapon.”).

       2. Because “the statutory language provides a clear answer,” the construction of Section

1512(c)(2) “ends there” and resort to legislative history is unnecessary. Hughes Aircraft Co. v.

Jacobson, 525 U.S. 432, 438 (1999); see Chamber of Commerce of U.S. v. Whiting, 563 U.S. 582,

599 (2011) (“Congress’s authoritative statement is the statutory text, not the legislative history.”)

(internal quotation marks omitted); see also United States v. De Bruhl-Daniels, 491 F. Supp. 3d



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237, 251-52 (S.D. Tex. 2020) (declining to consider Section 1512’s legislative history in rejecting

the claim that the statute was limited to document destruction). Regardless, the legislative history

of Section 1512(c)(2)—particularly when considered alongside the history of Section 1512 more

generally—provides no support for a contrary conclusion.

       When Congress in 1982 originally enacted Section 1512, that legislation did not include

what is now Section 1512(c). See Victim and Witness Protection Act of 1982 (VWPA), Pub. L.

No. 97-291, § 4(a), 96 Stat. 1248, 1249-50. Its title then, as now, was “Tampering with a witness,

victim, or an informant.” Id.; 18 U.S.C. § 1512. As that title suggested, Section 1512 as originally

enacted targeted conduct such as using intimidation, threats, or corrupt persuasion to prevent

testimony or hinder, delay, or prevent communication of information to law enforcement or the

courts as well as intentionally harassing another person to hinder, delay, or prevent that person

from taking certain actions. See Pub. L. No. 97-291, § 4(a) (now codified as Section 1512(b) and

Section 1512(d)). For example, Section 1512 as enacted in 1982 included a prohibition on using

intimidation, physical force, or threats, with the intent to “cause or induce any person to . . . alter,

destroy, mutilate, or conceal an object with intent to impair that object’s integrity or availability

for use in an official proceeding.” Id. § 4(a) (originally § 1512(a)(2)(B); now codified at

§ 1512(b)(2)(B)).

       Twenty years later, following the collapse of the Enron Corporation, Congress passed the

Sarbanes-Oxley Act of 2002. Pub. L. No. 107-204, 116 Stat. 745; see Yates, 574 U.S. at 535

(plurality opinion). That legislation, which principally aimed to “prevent and punish corporate

fraud, protect the victims of such fraud, preserve evidence of such fraud, and hold wrongdoers

accountable for their actions,” S. Rep. No. 107-146, at 2 (2002), included several different

provisions, id. at 11 (describing different components of the law); see also 148 Cong. Rec. H4683-



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84 (daily ed. July 16, 2002) (outlining new provisions). Foremost among them were two new

criminal statutes, 18 U.S.C. § 1519 and 18 U.S.C. § 1520, which were intended to “clarify and

close loopholes in the existing criminal laws relating to the destruction or fabrication of evidence

and the preservation of financial and audit records.” S. Rep. No. 107-146, at 14. The Senate

Judiciary Committee Report on the Sarbanes-Oxley Act discussed those two provisions in detail.

See id. at 14-16.

       By contrast, the Sarbanes-Oxley Act’s legislative history provides limited explanation of

Congress’s objective in enacting Section 1512(c). The only discussion of Section 1512 in the

Senate Judiciary Committee Report, for example, noted that the pre-existing prohibition in Section

1512(b) made it a crime to induce “another person to destroy documents, but not a crime for a

person to destroy the same documents personally”—a limitation that “forced” prosecutors to

“proceed under the legal fiction that the defendants [in then-pending United States v. Arthur

Andersen] are being prosecuted for telling other people to shred documents, not simply for

destroying evidence themselves.” S. Rep. No. 107-146, at 6-7. Similarly, Senator Hatch observed

that the legislation “broaden[ed]” Section 1512 by permitting prosecution of “an individual who

acts alone in destroying evidence.” 148 Cong. Rec. S6550 (daily ed. July 10, 2002) (statement of

Sen. Hatch). At a minimum, nothing in these passing references casts doubt on the plain meaning

of Section 1512(c)(2), which is reflected in the interpretation described above.

       Section 1512(c) also differed from the newly enacted Sections 1519 and 1520 in that

Congress added the former to an existing statutory section: Section 1512. See Yates, 574 U.S. at

541 (plurality opinion) (noting that, unlike Section 1519, Section 1512(c)(2) was placed among

the “broad proscriptions” in the “pre-existing” Section 1512). Moreover, although Section 1512(c)

as enacted in the Sarbanes-Oxley Act recognized two distinct prohibitions, see Pub. L. No. 107-



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204, § 1102, 116 Stat. 807 (“Tampering with a record or otherwise impeding an official

proceeding”) (emphasis added; capitalization altered), Congress did not amend Section 1512’s

title. That title, “Tampering with a witness, victim, or an informant,” § 1512, thus encompassed

the pre-existing provisions aimed at a defendant’s obstructive conduct directed toward another

person, 4 but did not reflect the newly enacted prohibitions in Section 1512(c) that criminalized a

defendant’s own obstructive act, either through destroying documents (§ 1512(c)(1)) or otherwise

impeding a proceeding (§ 1512(c)(2)). See Yates, 574 U.S. at 541 n.4 (plurality opinion) (noting

that Congress added Section 1512(c)(1), which covered evidence-spoliation, to Section 1512 “even

though § 1512’s preexisting title and provisions all related to witness-tampering”).

       Section 1512(c)’s legislative and statutory history thus offers two reasons to interpret

Section 1512(c)(2) consistently with its plain text and structure. First, Section 1512(c) aimed at

closing a “loophole” in Section 1512: the existing prohibitions did not adequately criminalize a

defendant’s personal obstructive conduct not aimed at another person. See 148 Cong. Rec. S6550

(daily ed. July 10, 2002) (statement of Sen. Hatch). Read together in this light, Section 1512(c)(1)

criminalizes a defendant’s firsthand destruction of evidence (without having to prove that the

defendant induced another person to destroy evidence) in relation to an official proceeding, and

Section 1512(c)(2) criminalizes a defendant’s firsthand obstructive conduct that otherwise

impedes or influences an official proceeding (though not necessarily through another person). See

Burge, 711 F.3d at 809-10. Second, no substantive inference is reasonably drawn from the fact



4
  See § 1512(a) (applies to killing, attempting to kill, or using physical force or the threat of
physical force against a person to prevent testimony or induce a witness to withhold information);
§ 1512(b) (applies to using intimidation, threats, or corrupt persuasion against a person to prevent
testimony or hinder, delay, or prevent communication of information to law enforcement or the
courts); § 1512(d) (applies to intentionally harassing another person to hinder, delay, or prevent
that person from taking certain actions).

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that the title of Section 1512 does not precisely match the “broad proscription” it in fact contains,

given that the Sarbanes-Oxley Act unequivocally and broadly entitled the new provisions now

codified in Section 1512(c), “Tampering with a record or otherwise impeding an official

proceeding.” Pub. L. No. 107-204, § 1102, 116 Stat. 807 (emphasis added; capitalization altered).

Section 1512’s title is more limited simply because Congress did not amend the pre-existing title

when it added the two prohibitions in Section 1512(c) in 2002. Cf. Brotherhood of R.R. Trainmen

v. Baltimore & Ohio R.R. Co., 331 U.S. 519, 528-29 (1947) (describing “the wise rule that the title

of a statute and the heading of a section cannot limit the plain meaning of the text”).

III.   Section 1512(c)(2)’s mens rea and nexus requirements limit the statute’s reach.

       Although Section 1512(c)(2) applies to any conduct that “obstructs, influences, or

impedes,” a felony obstruction offense does not exist unless the defendant acts “corruptly” and

targets his conduct at a specific “official proceeding.” These two requirements—which require

the government to prove a stringent mens rea and a nexus to an official proceeding—limit Section

1512(c)(2)’s reach. Cf. United States v. Jeter, 775 F.2d 670, 675 (6th Cir. 1985) (Section 1503

“contains a clear mens rea requirement that limits its scope to those who ‘corruptly’ or

intentionally seek to obstruct”).

       1. To violate Section 1512(c)(2), the defendant must act “corruptly.” To prove a defendant

acted “corruptly” for purposes of Section 1512(c)(2), the government must prove the defendant

acted (1) with intent to obstruct, impede, or influence; and (2) wrongfully.

       Because “‘corruptly’” is not defined in the statute, it is “understood . . . to have its ordinary

meaning.” United States v. North, 910 F.2d 843, 881 (D.C. Cir. 1990) (per curiam), withdrawn

and superseded in part by United States v. North, 920 F.2d 940 (D.C. Cir. 1990) (per curiam). In




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Poindexter, the D.C. Circuit suggested, while construing 18 U.S.C. § 1505, 5 that “‘corruptly’” was

“vague . . . in the absence of some narrowing gloss.” 951 F.2d at 378. After surveying the

obstruction statute’s legislative history (including the “[o]rigins” of Sections 1503 and 1505) and

case law interpreting Section 1505, the court reversed the defendant’s conviction because Section

1505 failed to provide “constitutionally required notice” that the defendant’s conduct—making

false and misleading statements to Congress—fell within the statute’s scope. Id. at 380, 386. The

court disclaimed any conclusion that “‘corruptly’” in Section 1505 was “unconstitutionally vague

as applied to all conduct.” Id. at 385. The court also declined to adopt as a standard that

“‘corruptly’ means that in acting, the defendant aimed to obtain an ‘improper advantage for

[himself] or someone else inconsistent with official duty and rights of others.’” Id. at 385-86

(quoting North, 910 F.2d at 881-82).

       For purposes of Section 1512(c)(2), “corruptly” includes two components: (1) intent to

obstruct, impede, or influence; and (2) wrongfulness. See United States v. Friske, 640 F.3d 1288,

1291 (11th Cir. 2011) (to act “corruptly” is to act “with an improper purpose” and “with the

specific intent to subvert, impede or obstruct”) (quoting United States v. Mintmire, 507 F.3d 1273,

1289 (11th Cir. 2007)); United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013) (same);

United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (upholding jury instruction defining

“corruptly” as acting with “consciousness of wrongdoing”) (internal quotation marks omitted);

United States v. Matthews, 505 F.3d 698, 705 (7th Cir. 2007) (upholding instruction defining

“[c]orruptly” as acting “with the purpose of wrongfully impeding the due administration of



5
  Section 1505 applies to “[w]hoever corruptly . . . influences, obstructs, or impedes or endeavors
to influence, obstruct, or impede . . . the due and proper exercise of the power of inquiry under
which any inquiry or investigation is being had by either House, or any committee of either House
or any joint committee of the Congress.” 18 U.S.C. § 1505.

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justice”); Seventh Circuit Pattern Criminal Jury Instruction for § 1512(c) (“A person acts

‘corruptly’ if he or she acts with the purpose of wrongfully impeding the due administration of

justice.”). 6 That the term “corruptly” requires the government to prove that a defendant acted not

only with intent to obstruct but also with “consciousness of wrongdoing” ensures that Section

1512(c)(2) “reaches only” those who have committed felony obstruction. 7 Arthur Andersen LLP

v. United States, 544 U.S. 696, 706 (2005). That limitation is particularly important where, as

here, the defendants are alleged to have obstructed a congressional proceeding. See North, 910

F.2d at 882 (noting that an “executive branch official” or a “political activist” may seek to persuade

a representative to “stop[] spending her time pursuing a certain investigation” but instead pursue

“some other legislative endeavor”; that conduct could be viewed as “endeavoring to impede or

obstruct the investigation, but it is not necessarily doing so corruptly”).

       To prove that an attempted or actual obstruction of a congressional proceeding amounts to

felony obstruction in violation of 18 U.S.C. § 1512(c)(2), the government must therefore adduce

evidence establishing beyond a reasonable doubt that a defendant acted intentionally and with

“consciousness of wrongdoing.” Andersen, 544 U.S. at 706. That standard could be met where,

for example, evidence showed that defendants dressed in tactical vests, assaulted a law

enforcement officer by kicking the officer in his chest and grabbing his baton, joined a mob that

was pushing to enter the Capitol building, penetrated the Capitol building, and, after watching the



6
  The defendants’ suggestion (Supp. Br. 41) that the Seventh Circuit pattern instruction requires
proof that a defendant “interfered with the flow of evidence or otherwise impeded a proceeding
related to the administration of justice” adds a requirement not found in that instruction’s text. But
even if such a gloss applied, the defendants’ alleged conduct would violate it. See infra, Part VI.
7
  Although Section 1512(c)(2)’s statutory text does not include the modifier “knowingly,” the
statute does require that the defendant “engage in conduct knowingly.” Gordon, 710 F.3d at 1151;
Friske, 640 F.3d at 1291.

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assault of law enforcement officers who were standing guard there, entered and occupied the

Gallery of the Senate Chamber, the very place the certification would otherwise have been

occurring—all while harassing and badgering law enforcement officers as the officers sought to

secure the area. 8

        2.   To violate Section 1512(c)(2), the government must also satisfy the “nexus”

requirement, namely, that the defendant “contemplated a particular, foreseeable proceeding, and

that the contemplated proceeding constituted an official proceeding.” Young, 916 F.3d at 386

(internal quotation marks omitted). “‘[T]he nexus limitation is best understood as an articulation

of the proof of wrongful intent that will satisfy the mens rea requirement of “corruptly” obstructing

or endeavoring to obstruct’—that is, the first element of proving a § 1512(c)(2) charge.” Id. at 385

n.12 (quoting United States v. Erickson, 561 F.3d 1150, 1159 (10th Cir. 2009)).

        The nexus requirement derives from the Supreme Court’s decision in United States v.

Aguilar, 515 U.S. 593 (1995). There, the defendant was convicted under the omnibus clause in

Section 1503 for lying to an FBI agent “who might or might not testify before a grand jury.” Id.

at 600. That uncertainty was too attenuated to give rise to criminal liability because an obstructive

act must “have a relationship in time, causation, or logic” with the official proceeding. Id. 599-


8
  The “high maximum[] and no minimum[]” penalty provision that Congress enacted in Section
1512(c)(2), moreover, reflects that obstruction offenses “may run the gamut from major to minor,”
and empowers district court judges to “recognize differences between such cases” and to “try to
make the punishment fit the crime.” Yates, 574 U.S. at 569-70 (Kagan, J., dissenting); see
Apprendi v. New Jersey, 530 U.S. 466, 481 (2000) (noting that “judges in this country have long
exercised discretion” to impose sentences within a statutory sentencing range by “taking into
consideration various factors relating both to offense and offender”). The same is true of the
criminal contempt statute, 18 U.S.C. § 401, which has been applied to a wide range of conduct,
see United States v. McGainey, 37 F.3d 682, 683 (D.C. Cir. 1994) (threatening gesture that led to
“disruption” of a criminal trial constituted “‘obstruction of the administration of justice’”); id. at
684-85 (citing other disruption case), and prescribes no maximum or minimum penalty, see 18
U.S.C. § 401 (permitting court the “power to punish by fine or imprisonment, or both, at its
discretion”).

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600. That was so, the Court held, because “if the defendant lacks knowledge that his actions are

likely to affect the judicial proceeding, he lacks the requisite intent to obstruct.” Id. at 599.

        The Supreme Court’s decision in Arthur Andersen applied the nexus requirement to

Section 1512(b)(2)(A) offenses, which prohibit “knowingly” and “corruptly persuad[ing]” another

to destroy documents in contemplation of an official proceeding. See 544 U.S. at 703. Observing

that “[i]t is . . . one thing . . . to say that a proceeding ‘need not be pending or about to be instituted

at the time of the offense,’” id. at 707; see 18 U.S.C. § 1512(f), the Supreme Court found it “quite

another to say a proceeding need not even be foreseen,” 544 U.S. at 708. To secure a conviction

under Section 1512(b), therefore, the government must prove that the defendant has “in

contemplation” a “particular official proceeding in which [the tampered-with] documents might

be material.” Id.

        The same logic applies to Section 1512(c)(2). See Ring, 628 F. Supp. 2d at 223 (applying

nexus requirement to Section 1512(c)(2)). 9         Courts considering prosecutions brought under

Section 1512(c)(2), moreover, have vacated convictions where the evidence failed to establish a

sufficient nexus between the obstructive act and the alleged official proceeding. See Young, 916

F.3d at 387-89 (defendant’s general awareness that the government might be investigating him

was insufficiently connected to “a specific and reasonably foreseeable official proceeding”);

Friske, 640 F.3d at 1292-93 (government failed to prove that the defendant who, at a friend’s

request, retrieved items that were subject to criminal forfeiture, “knew that the natural and probable

result of his actions would be the obstruction of [the friend’s] forfeiture proceeding”). To be sure,

establishing a “relationship in time, causation, or logic,” Aguilar, 515 U.S. at 599, between the


9
  Although neither the Supreme Court nor the D.C. Circuit has extended the “nexus” requirement
to Section 1512(c)(2), every court of appeals to have confronted the question has. See Young, 916
F.3d at 386 (collecting cases).

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obstructive conduct and the official proceeding in the defendants’ case, where they are alleged to

have forced their way into the Capitol to impede Congress’s certification of the Electoral College

vote at the very moment that certification was underway, does not raise the borderline questions

at issue in other cases. But the nexus requirement nonetheless imposes a meaningful “restraint”

on the “reach of a federal criminal [obstruction] statute.” Marinello, 138 S. Ct. at 1106 (quoting

Aguilar, 515 U.S. at 600).

        3. The mens rea and nexus requirements in Section 1512(c)(2) ensure that only those who

understand the character and import of their actions are punished. A defendant does not violate

the statute unless, at minimum, he intentionally and wrongfully obstructs (or attempts to obstruct)

a particular, foreseeable proceeding that qualifies as an “official proceeding” under Section

1515(a)(1).

IV.     Section 1512(c)(2) is not unconstitutionally vague or overbroad.

        The defendants argue (Supp. Br. 26-43) that Section 1512(c)(2) is unconstitutionally vague

or overbroad. They are wrong on both counts.

        1. The Due Process Clauses of the Fifth and Fourteenth Amendments prohibit the

government from depriving any person of “life, liberty, or property, without due process of law.”

U.S. Const. amends. V, XIV. An outgrowth of the Due Process Clause, the “void for vagueness”

doctrine prevents the enforcement of a criminal statute that is “so vague that it fails to give ordinary

people fair notice of the conduct it punishes” or is “so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595 (2015). To ensure fair notice,

“‘[g]enerally, a legislature need do nothing more than enact and publish the law, and afford the

citizenry a reasonable opportunity to familiarize itself with its terms and to comply.’” United

States v. Bronstein, 849 F.3d 1101, 1107 (D.C. Cir. 2017) (quoting Texaco, Inc. v. Short, 454 U.S.



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516, 532 (1982)). To avoid arbitrary enforcement, the law must not “vest[] virtually complete

discretion” in the government “to determine whether the suspect has [violated] the statute.”

Kolender v. Lawson, 461 U.S. 352, 358 (1983).

       A statute is not unconstitutionally vague simply because its applicability is unclear at the

margins, United States v. Williams, 553 U.S. 285, 306 (2008), or because a reasonable jurist might

disagree on where to draw the line between lawful and unlawful conduct in particular

circumstances, Skilling v. United States, 561 U.S. 358, 403 (2010). “‘Even trained lawyers may

find it necessary to consult legal dictionaries, treatises, and judicial opinions before they may say

with any certainty what some statutes may compel or forbid.’” Bronstein, 849 F.3d at 1107

(quoting Rose v. Locke, 423 U.S. 48, 50 (1975) (per curiam)). Rather, a provision is impermissibly

vague only if it requires proof of an “incriminating fact” that is so indeterminate as to invite

arbitrary and “wholly subjective” application. Williams, 553 U.S. at 306; see Smith v. Goguen,

415 U.S. 566, 578 (1974). The “touchstone” of vagueness analysis “is whether the statute, either

standing alone or as construed, made it reasonably clear at the relevant time that the defendant’s

conduct was criminal.” United States v. Lanier, 520 U.S. 259, 267 (1997).

       A statutory provision is therefore “not rendered unconstitutionally vague because it ‘do[es]

not mean the same thing to all people, all the time, everywhere.’” Bronstein, 849 F.3d at 1107

(quoting Roth v. United States, 354 U.S. 476, 491 (1957)). A statute is instead vague where it fails

to specify any “standard of conduct . . . at all.” Coates v. Cincinnati, 402 U.S. 611, 614 (1971).

“As a general matter,” however, a law is not constitutionally vague where it “call[s] for the

application of a qualitative standard . . . to real-world conduct; ‘the law is full of instances where

a man’s fate depends on his estimating rightly . . . some matter of degree.’” Johnson, 576 U.S. at

603-04 (quoting Nash v. United States, 229 U.S. 373, 377 (1913)).



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       a. The defendants fail to overcome the strong presumption that Section 1512(c)(2) passes

constitutional muster. See United States v. Nat’l Dairy Products Corp., 372 U.S. 29, 32 (1963)

(“The strong presumptive validity that attaches to an Act of Congress has led this Court to hold

many times that statutes are not automatically invalidated as vague simply because difficulty is

found in determining whether certain marginal offenses fall within their language.”). Section

1512(c)(2) does not tie criminal culpability to “wholly subjective” terms such as “annoying” or

“indecent” that are bereft of “narrowing context” or “settled legal meanings,” Williams, 553 U.S.

at 306, nor does it require application of a legal standard to an “idealized ordinary case of the

crime,” Johnson, 576 U.S. at 604. Section 1512(c)(2)’s prohibition on “corruptly . . . obstruct[ing],

influenc[ing], or imped[ing]” an “official proceeding” gives rise to “no such indeterminacy.”

Williams, 553 U.S. at 306. The statute requires that a defendant, acting with consciousness of

wrongdoing and intent to obstruct, attempts to or does undermine or interfere with a statutorily

defined official proceeding. While “it may be difficult in some cases to determine whether these

clear requirements have been met,” “‘courts and juries every day pass upon knowledge, belief and

intent—the state of men’s minds—having before them no more than evidence of their words and

conduct, from which, in ordinary human experience, mental condition may be inferred.’” Id.

(quoting American Communications Ass’n, CIO v. Douds, 339 U.S. 382, 411 (1950)).

       b. The defendants’ more targeted attack on “corruptly,” relying on United States v.

Poindexter, supra, is equally unavailing. As noted above, the D.C. Circuit in Poindexter held that

the term “corruptly” was “vague . . . in the absence of some narrowing gloss.” 951 F.2d at 378.

Poindexter is inapposite for three reasons. 10




10
   Poindexter was also superseded in significant part by the False Statements Accountability Act
of 1996, Pub. L. No. 104-292, 110 Stat. 3459. As codified at 18 U.S.C. § 1515(b), the Act provides
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       First, the D.C. Circuit narrowly confined Poindexter’s analysis to Section 1505’s use of

“corruptly,” and expressly declined to hold “that term unconstitutionally vague as applied to all

conduct.” 951 F.2d at 385. Five years later, in United States v. Morrison, 98 F.3d 619 (D.C. Cir.

1996), the D.C. Circuit rejected a Poindexter-based vagueness challenge to 18 U.S.C. § 1512(b)

and affirmed the conviction of a defendant for “corruptly” influencing the testimony of a potential

witness at trial. Id. at 629-30. Other courts have similarly recognized “the narrow reasoning used

in Poindexter” and “cabined that vagueness holding to its unusual circumstances.” United States

v. Edwards, 869 F.3d 490, 502 (7th Cir. 2017); see also, e.g., United States v. Kelly, 147 F.3d 172,

176 (2d Cir. 1998) (rejecting vagueness challenge to “corruptly” in 26 U.S.C. § 7212(a)); United

States v. Shotts, 145 F.3d 1289, 1300 (11th Cir. 1998) (same for 18 U.S.C. § 1512(b)); United

States v. Brenson, 104 F.3d 1267, 1280 (11th Cir. 1997) (same for 18 U.S.C. § 1503). The

defendants’ invocation of Poindexter accordingly fails to establish that Section 1512(c) suffers the

same constitutional indeterminacy.

       Second, Poindexter predated the Supreme Court’s decision in Arthur Andersen LLP v.

United States, 544 U.S. 696 (2005). There, the Court explained the terms “‘[c]orrupt” and

‘corruptly’ are normally associated with wrongful, immoral, depraved, or evil.” Id. at 705 (citation

omitted). In doing so, the Court “did not imply that the term was too vague.” Edwards, 869 F.3d

at 502. Third, and as noted above, courts have encountered little difficulty when addressing

“corruptly” in Section 1512(c)(2) following Arthur Andersen. See supra, at 18-19. Such efforts

demonstrate that the statute’s “corruptly” element does not invite arbitrary or wholly subjective

application by either courts or juries.




that the term “corruptly” in § 1505 “means acting with an improper purpose, personally or by
influencing another, including making a false or misleading statement.”

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       The defendants provide no support for their position. Nor could they. “One to whose

conduct a statute clearly applies may not successfully challenge it for vagueness.” Parker v. Levy,

417 U.S. 733, 756 (1974). In this case, the defendants are alleged to have entered the Capitol

alongside a mob of rioters, who then destroyed property, broke into Congressional offices, and

assaulted law enforcement officers. One defendant, Montgomery, is also alleged to have assaulted

an officer. The defendants proceeded all the way to the Gallery of the Senate Chamber, the very

location where the certification proceeding should have been occurring. This was all part of their

effort to stop Congress from certifying the Electoral College vote. Along the way, the defendants

harassed and berated law enforcement officers inside and outside the Capitol building. Whatever

the “uncertainty around the edges,” Edwards, 869 F.3d at 502, Section 1512(c)’s “corruptly”

element provided ample notice to the defendants that their conduct was criminal.

       c. The defendants’ two arguments (Supp. Br. 34-38) that Section 1512(c)(2) permits

arbitrary enforcement are incorrect. First, the defendants suggest (Supp. Br. 34) that comments by

government counsel during the hearing evinced “‘personal predilections’” about the defendants’

conduct and the conduct (whether real or hypothesized) of other individuals. But as the Court

observed, the discussion of hypotheticals throughout the hearing aimed to permit the Court “to

decide what to do in this case” and in other cases prosecuted under Section 1512(c)(2). Hearing

Trans. 67. In responding to those hypotheticals, the government identified the pertinent governing

principles—that Section 1512(c)(2) requires “the actus reus of impeding, interfering, or

obstructing” undertaken with “both intent to obstruct as well as wrongfulness,” id. at 36—while

acknowledging that certain fact patterns will present “hard, borderline cases.” Id. at 46; see

Williams, 553 U.S. at 306 (“Close cases can be imagined under virtually any statute. The problem

that poses is addressed, not by the doctrine of vagueness, but by the requirement of proof beyond



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a reasonable doubt.”). The unremarkable exercise of exploring the boundaries of a criminal statute

through hypotheticals does not suggest, let alone establish, arbitrary enforcement of a facially

neutral statute.

        Second, the defendants’ invocation (Supp. Br. 36-38) of a specific case and prior events at

the U.S. Capitol does not alter the vagueness analysis. That Tighe Barry, who shouted at the

confirmation hearing for then-Judge Brett Kavanaugh, see United States v. Barry, 18-mj-111

(RMM), and later, in a case unrelated to the hearings, congregated with others in a room in the

Rayburn House Office Building in violation of a court order, United States v. Barry, 19-mj-49

(RMM), entered a guilty plea to misdemeanor obstruction in violation of 40 U.S.C.

§ 5104(e)(2)(D) does not imply that his conduct fell outside the scope of Section 1512(c)(2).

Furthermore, the mere fact that multiple criminal statutes apply to an individual’s conduct does

not render prosecution under one (or more) of those statutes suspect; indeed, “overlap” is “not

uncommon in [federal] criminal statutes.” Loughrin, 573 U.S. at 358 n.4; accord Hubbard, 514

U.S. at 714 n.14 (opinion of Stevens, J.) (“Congress may, and often does, enact separate criminal

statutes that may, in practice, cover some of the same conduct.”). Nor does any overlap between

misdemeanor and felony provisions give rise to a vagueness concern: “So long as overlapping

criminal provisions clearly define the conduct prohibited and the punishment authorized, the notice

requirements of the Due Process Clause are satisfied.” United States v. Batchelder, 442 U.S. 114,

123 (1979). And the exceptional violence and destruction on January 6, which involved more than

a hundred assaults on law enforcement officers, assaults on members of the media, broken

windows and doors, graffiti, and other extensive damage to government and private (including

media) property, qualitatively and quantitatively distinguishes it from other “protest” events at the

Capitol. See, e.g., Staff of Senate Committees on Homeland Security and Governmental Affairs



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and Committee on Rules and Administration Report, Examining the Capitol Attack: A Review of

the Security, Planning, and Response Failures on January 6 (June 7, 2021), at 27-30 (describing

“‘absolutely brutal’ violent physical abuse” experienced by law enforcement officers, including

chemical burns that had not healed nearly two months after January 6, “being pinned against

surfaces,” and being assaulted with a “range of objects”); United States House of Representatives

Curator Farar Elliott, Statement before the House Appropriations Subcommittee on the Legislative

Branch (Feb. 24, 2021) (describing damage to marble and granite statutes).

       2. The defendants also briefly posit (Supp. Br. 41-43) that Section 1512(c)(2) is facially

overbroad. In the First Amendment context, as in others, “[f ]acial challenges are disfavored.”

Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 450 (2008). Facial

overbreadth challenges—in which a defendant asserts that a statute, constitutionally applied to her,

is nevertheless invalid because it would be unconstitutional in a “substantial number” of other

cases, id. at 449 n.6 (internal quotation marks omitted)—are even more exceptional. “‘Because of

the wide-reaching effects of striking down a statute on its face at the request of one whose own

conduct may be punished despite the First Amendment,’” overbreadth is “ ‘“strong medicine”’ ” to

be employed “ ‘“only as a last resort.”’ ” Los Angeles Police Dep’t v. United Reporting Publ’g

Corp., 528 U.S. 32, 39 (1999) (quoting New York v. Ferber, 458 U.S. 747, 769 (1982)); cf.

Virginia v. Hicks, 539 U.S. 113, 119 (2003) (noting the “substantial social costs created by the

overbreadth doctrine when it blocks application of a law to . . . constitutionally unprotected

conduct”) (emphasis omitted).

       The Supreme Court has therefore “vigorously enforced the requirement that a statute’s

overbreadth be substantial . . . relative to the statute’s plainly legitimate sweep.” Williams, 553

U.S. at 292. “[T]he mere fact that one can conceive of some impermissible applications of a statute



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is not sufficient to render it susceptible to an overbreadth challenge.” Members of the City Council

v. Taxpayers for Vincent, 466 U.S. 789, 800 (1984). Rather, “there must be a realistic danger that

the statute itself will significantly compromise recognized First Amendment protections of parties

not before the Court.” Id. at 801. And laws that are “not specifically addressed to speech or to

conduct necessarily associated with speech (such as picketing or demonstrating)” are far less likely

to present such a danger. Hicks, 539 U.S. at 124; see id. (observing that “an overbreadth challenge”

to such a law will “[r]arely, if ever, . . . succeed”).

        The defendants’ challenge fails that demanding standard. Because “it is impossible to

determine whether a statute reaches too far without first knowing what the statute covers,” the

“first step in overbreadth analysis is to construe the challenged statute.” Williams, 553 U.S. at 293.

As described above, Section 1512(c)(2) prohibits corruptly obstructing an official proceeding. The

operative verbs—obstruct, influence, or impede—principally target conduct rather than speech,

see supra at 8-9, and those verbs are paired with the “corruptly” scienter requirement, see Williams,

553 U.S. at 294 (focusing on scienter requirement in determining that statute was not overbroad).

At the very least, the defendants cannot show that Section 1512(c)(2) is “substantial[ly]” overbroad

relative to its “plainly legitimate sweep.” Washington State Grange, 552 U.S. at 449 n.6 (internal

quotation marks omitted).        The defendants’ own prosecution—which involved physically

trespassing into the restrict Capitol and assaulting law enforcement officers—is illustrative of the

numerous constitutionally legitimate applications of the statute to conduct and unprotected speech.

And far from showing a “realistic danger” of constitutionally problematic applications in other

cases, Taxpayers for Vincent, 466 U.S. at 801, the defendants fail to identify a single actual

example of a prosecution based on protected speech. The limitations inherent in the crime of

conviction, moreover, render the possibility of any such prosecutions marginal at best, and any



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such case could be the subject of an as-applied challenge. Nothing at all calls for the “strong

medicine,” Los Angeles Police Dep’t, 528 U.S. at 39 (internal quotation marks omitted), of

overbreadth invalidation.

V.     The Supreme Court’s decision in Yates v. United States does not counsel a
       different interpretation.

       The Supreme Court’s decision in Yates v. United States, which considered how to construe

the statutory term “tangible object” in Section 1519, 574 U.S. at 532 (plurality opinion), does not

undermine the interpretation of Section 1512(c)(2) articulated above. In Yates, a plurality of the

Court undertook a “contextual reading” to narrow the scope of “tangible object” in Section 1519

to “only objects one can use to record or preserve information, not all objects in the physical

world.” Id. at 536 (plurality opinion). The contextual features that animated that narrow

interpretation in Section 1519 are, however, absent in Section 1512(c)(2). 11

       1. The Court in Yates considered a prosecution brought under Section 1519, which makes

it a crime to “knowingly alter[], destroy[], mutilate[], conceal[], cover[] up, falsif[y], or make[] a

false entry in any record, document, or tangible object with the intent to impede, obstruct, or

influence” a federal investigation. 18 U.S.C. § 1519. Yates was a commercial fisherman who

ordered his crew to throw his catch back into the sea to prevent federal authorities from

determining whether he had harvested undersized fish. Yates, 574 U.S. at 531 (plurality opinion).

The question presented was whether “tangible object” as used in Section 1519 included a fish. A

fractured Supreme Court produced three opinions.




11
   Although the defendants do not address Yates in detail in their supplemental brief, the Court
asked whether the analysis in Yates would apply equally to Section 1512(c)(2). See Hearing Tran.
at 6-7.

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       a. A four-Justice plurality concluded that Section 1519’s “context” supported a “narrower

reading.” Yates, 574 U.S. at 539. A holding that “tangible object” included “any and all objects,”

the plurality concluded, would “cut § 1519 loose from its financial-fraud mooring” in the Sarbanes-

Oxley Act. Id. at 532. The plurality grounded its analysis in several “[f]amiliar interpretive

guides.” Id. at 539. First, neither Section 1519’s caption, “Destruction, alteration, or falsification

of records in Federal investigations and bankruptcy,” nor the title within the Sarbanes-Oxley Act

within which Section 1519 was placed, “Criminal penalties for altering documents,” suggested

that Congress aimed to “sweep” in “physical objects of every kind.” Id. at 539-40.

       Second, the plurality relied on Section 1519’s placement within Title 18’s Chapter 73.

Yates, 574 U.S. at 540. Specifically, its placement at the end of the chapter following several

provisions “prohibiting obstructive acts in specific contexts,” suggested that Congress did not

intend Section 1519 as an “across-the-board” spoliation ban. Id. In contrast, the plurality noted,

Congress directed codification of the Sarbanes-Oxley Act’s “other additions . . . within or

alongside retained provisions that address obstructive acts relating broadly to official proceedings

and criminal trials.” Id. To illustrate one such “broad[]” provision, the plurality specifically

referred to the provision at issue in this case, Section 1512(c), which, as noted above, was titled

“Tampering with a record or otherwise impeding an official proceeding,” and which Congress

placed (as Section 1512(c)) within the “broad proscription[]” found in the “pre-existing” Section

1512. Id. at 541.

       Third, the plurality compared Section 1519 with the “contemporaneous passage” in the

Sarbanes-Oxley Act of Section 1512(c)(1). See 574 U.S. at 541. Because Section 1512(c)(1)’s

reference to “‘other object’” encompassed “any and every physical object,” the plurality “resist[ed]

a reading of § 1519” that would make Section 1512(c)(1) superfluous. Id. at 542-43. Moreover,



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the plurality reasoned, the fact that Congress’s formulation in Section 1519 did not track the

language in Section 1512(c)(1) indicated that Congress intended Section 1519 to be construed

differently from Section 1512. Id. at 545 n.7. More specifically, the plurality concluded that, by

adopting those different formulations, Congress intended the phrase “tangible object” in Section

1519 to “have a narrower scope” than the phrase “‘other object’” in Section 1512(c)(1). Id. at 544-

45.

       Fourth, the plurality found support for its narrowing construction in the noscitur a sociis

and ejusdem generis interpretive canons. 574 U.S. at 543-46. Because “tangible object” in Section

1519 was the “last in a list of terms that begins ‘any record [or] document,’” the noscitur a sociis

canon counseled interpreting that term “to refer . . . specifically to the subject of tangible objects

involving records and documents.” Id. at 544. That reading, moreover, “accord[ed] with” Section

1519’s verbs, which include “‘falsif[ying]’” and “‘mak[ing] a false entry in’”—terms that

commonly “take as grammatical objects records, documents, or things used to record or preserve

information.” Id. (emphasis omitted). Similarly, application of the ejusdem generis canon—that

“general words” following “specific words” when listed in a statute are “construed to embrace

only objects similar in nature to those objects enumerated by the preceding specific words,” id. at

545 (internal quotation marks omitted)—indicated that Congress “would have had no reason to

refer specifically to ‘record’ or ‘document’” if it intended Section 1519 to “capture physical objects

as dissimilar as documents and fish.” Id. at 546. 12




12
  By way of example, the Supreme Court cited its decision in Begay v. United States, 553 U.S.
137 (2008), abrogated on other grounds by Johnson v. United States, 576 U.S. 591 (2015), where
the Court interpreted the residual clause in the Armed Career Criminal Act (ACCA), which
covered “any crime . . . that . . . is burglary, arson, or extortion, involves use of explosives, or
otherwise involves conduct that presents a serious potential risk of physical injury to another.” 18
U.S.C. § 924(e)(2)(B)(ii). The ACCA’s enumeration of specific crimes suggested that the
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       Finally, the plurality stated that, to the extent its “recourse to traditional tools of statutory

construction” left “any doubt” about how to interpret “‘tangible object’” in Section 1519, the rule

of lenity favored a narrow interpretation of that phrase. 574 U.S. at 547-48. Because a broad

reading of Section 1519 would criminalize “tampering with any physical object that might have

evidentiary value in any federal investigation into any offense, no matter whether the investigation

is pending or merely contemplated, or whether the offense subject to investigation is criminal or

civil,” the plurality reasoned that before it opted for the “harsher alternative,” Congress must speak

“in language that is clear and definite.” Id. at 548 (internal quotation marks omitted).

       b. Justice Alito concurred in the judgment on narrower grounds. 13 Observing that the

statutory “question is close,” Justice Alito reasoned that the combined effect of “the statute’s list

of nouns, its list of verbs, and its title” favored the plurality’s conclusion. Yates, 574 U.S. at 549

(Alito, J., concurring). Section 1519’s nouns suggested that “‘tangible object’” in that provision

“should refer to something similar to records or documents.” Id. at 550. Similarly, Section 1519’s

list of verbs are “closely associated with filekeeping,” and at least one verb phrase—“‘makes a

false entry in’”—“makes no sense outside of filekeeping.” Id. at 551. Finally, Section 1519’s

title—“Destruction, alteration, or falsification of records in Federal investigations and

bankruptcy,” § 1519—suggested that “no matter how other statutes might be read,” Section 1519

“does not cover every noun in the universe with tangible form.” Id. at 552.




“otherwise involves” provisions applied only to “similar crimes, rather than every crime that
‘presents a serious potential risk of physical injury to another.’” Begay, 553 U.S. at 142.
13
   Under the rule announced in Marks v. United States, 430 U.S. 188 (1977), Justice Alito’s
concurrence represents the binding holding as the narrowest opinion among those concurring in
the judgment. See id. at 193.

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          c. Justice Kagan, joined by three other Justices, dissented. In her view, the term “‘tangible

object’” in Section 1519 was “broad, but clear”; it encompassed, as it would in “everyday

language,” “any object capable of being touched.” Yates, 574 U.S. at 553 (Kagan, J., dissenting).

Reviewing Section 1519’s text and context demonstrated that “Congress said what it meant and

meant what it said.” Id. at 555. Moreover, Justice Kagan reasoned, when Congress in Section

1519 used a “broad term” such as “tangible object,” an interpretation that provided “immunity” to

defendants who destroyed non-documentary evidence had “no sensible basis in penal policy.” Id.

at 558.

          2. The decision in Yates does not unsettle the straightforward interpretation of Section

1512(c)(2) articulated above because the “familiar interpretive guides” on which the plurality (and

to some extent Justice Alito) relied to narrow the scope of Section 1519 do not apply to Section

1512(c)(2).

          Consider first, as the plurality did, Section 1512’s statutory title. See Yates, 574 U.S. at

539-40 (plurality opinion); see also id. at 552 (Alito, J., concurring) (considering Section 1519’s

title). Even leaving aside the “the wise rule” that neither “the title of a statute” nor “the heading

of a section” can “limit the plain meaning of the text,” Brotherhood of R.R. Trainmen, 331 U.S. at

528-29, Section 1512’s title, “Tampering with a witness, victim, or an informant,” provides no

reason to narrow the interpretation of Section 1512(c)(2). See supra, at 15-17. For one thing,

Congress named that title 20 years before it enacted 1512(c) in the Sarbanes-Oxley Act, and then

simply opted not to rename Section 1512 to reflect either of the two new obstruction prohibitions

added in Section 1512(c). Section 1512’s overarching title therefore does not have the same

interpretive force as Section 1519’s title, which was enacted by the same Congress that enacted

the rest of Section 1519. See Yates, 574 U.S. 541 n.4 (plurality opinion). Additionally, whereas



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Section 1519’s title within the Sarbanes-Oxley Act, “Criminal penalties for altering documents,”

suggested a narrow focus on document destruction, see id. at 539-40, Section 1512(c)’s title within

the Sarbanes-Oxley Act reflected both the document-destruction prohibition in Section 1512(c)(1)

and the broader catch-all obstruction provision in Section 1512(c)(2): “Tampering with a record

or otherwise impeding an official proceeding.” Sarbanes-Oxley Act of 2002, Pub. L. No. 107-204,

§ 1102, 116 Stat. 807 (emphasis added; capitalization altered).

       Similarly inapposite here is Section 1512(c)(2)’s placement within Chapter 73. See Yates,

574 U.S. at 540-41 (plurality opinion). Whereas Congress enacted Section 1519 as a standalone

prohibition and placed it at the end of the chapter “together with specialized provisions expressly

aimed at corporate fraud and financial audits,” it instead inserted Section 1512(c) within the “pre-

existing” Section 1512. Id. at 541 (plurality opinion). So situated, Section 1512(c)(2)’s function

as a catch-all obstruction prohibition is consistent with Section 1512’s role as a “broad

proscription” on obstructive acts. See id. (plurality opinion).

       That reading, moreover, is consistent with how the Yates plurality opinion describes

Section 1512(c). See 574 U.S. at 541-43, 545. Contrasting the term “other object” in the

document-destruction provision in Section 1512(c)(1) with “tangible object” in Section 1519, the

plurality concluded that Section 1512(c)(1)’s later enactment suggested Congress intended it to

reach more broadly than Section 1519. Id. at 542-43; id. at 545 n.7 (“Congress designed § 1519

to be interpreted apart from § 1512, not in lockstep with it.”). And if Congress intended Section

1512(c)(1) to cover more ground than Section 1519, Section 1512(c)’s text and structure make

plain that it further intended Section 1512(c)(2) to cover more ground than Section 1512(c)(1).

       The plurality, 574 U.S. at 544-45, and Justice Alito, id. at 550, also drew support for their

narrowing construction of Section 1519 from interpretive canons, but those canons do not help the



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defendants here. “Where a general term follows a list of specific terms, the rule of ejusdem generis

limits the general term as referring only to items of the same category.” United States v. Espy, 145

F.3d 1369, 1370-71 (D.C. Cir. 1998). Section 1519’s structure—a list of specific terms (“record”

and “document) followed by a more general term (“tangible object”)—in a singular provision is

susceptible to that analysis. Yates, 574 U.S. at 545-56 (plurality opinion); id. at 549-50 (Alito, J.,

concurring). But Section 1512(c)’s structure differs significantly: it includes one numbered

provision that prohibits evidence-tampering, followed by a semi-colon, the disjunctive “or,” and

then a separate numbered provision containing the separate catch-all obstruction prohibition. “The

absence of a list of specific items undercuts the inference embodied in ejusdem generis that

Congress remained focused on the common attribute when it used the catchall phrase.” Ali v. Fed.

Bureau of Prisons, 552 U.S. 214, 225 (2008). Furthermore, in the same way that the ejusdem

generis canon does not apply to the omnibus clause in Section 1503 that is “one of . . . several

distinct and independent prohibitions” rather than “a general or collective term following a list of

specific items to which a particular statutory command is applicable,” Aguilar, 515 U.S. at 615

(Scalia, J., concurring in part and dissenting in part), it has no application to Section 1512(c)(2),

which embodies the same structure. Cf. Loughrin, 573 U.S. at 359 (distinguishing the mail fraud

statute (18 U.S.C. § 1341), which “contains two phrases strung together in a single, unbroken

sentence,” from the bank fraud statute (18 U.S.C. § 1344), which comprised “two clauses” with

“separate numbers, line breaks before, between, and after them, and equivalent indentation—thus

placing the clauses on an equal footing and indicating that they have separate meanings”).

       The Supreme Court’s decision in Begay v. United States, 553 U.S. 137, on which the Yates

plurality in part relied (see supra, note 12), does not suggest a different conclusion with respect to

Section 1512(c)(2). The statutory provision at issue in Begay included a list of specified crimes



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(“any crime . . . that is . . . burglary, arson, or extortion, or involves use of explosives”) followed,

in the same sentence, by a more general category (“or otherwise involves conduct that presents a

serious potential risk of physical injury to another,” 18 U.S.C. § 924(e)(2)(B)(ii)); the Supreme

Court held that the “otherwise involves” provision covered only crimes “similar” to those in the

enumerated list. See 553 U.S. at 142-43. In Section 1512(c)(2), by contrast, “the ‘otherwise’

phrase . . . stands alone, unaccompanied by any limiting examples” in a provision that “is plainly

separate and independent of” Section 1512(c)(1). Ring, 628 F. Supp. 2d at 224 n.17. “Thus, just

as Begay did not define the ‘otherwise’ clause” in Section 924(e)(2)(B)(ii) “in terms of the

independent and preceding” Section 924(e)(2)(B)(i), Section 1512(c)(2)’s “use of ‘otherwise’”

should not be construed “as limited by § 1512(c)(1)’s separate and independent prohibition on

evidence-tampering.” Id.; see De Bruhl-Daniels, 491 F. Supp. 3d at 251 (“[Section 1512(c)(2)]

does not appear as a broad catch-all term at the end of a list that must be wrangled into conformity

with congressional intent using a canon of construction” but instead “exists as a potent,

independent, and unequivocal catch-all provision that reaches all manner of obstructive conduct

related to an official proceeding.”).

        The noscitur a sociis canon is similarly inapplicable here. That canon is used only to

construe terms that are “of obscure or doubtful meaning,” not to change the meaning of

unambiguous terms that are simply broad. Russell Motor Car Co., 261 U.S. at 520. Moreover,

the canon may be invoked only “when a string of statutory terms raises the implication that the

words grouped in a list should be given related meaning.” S. D. Warren Co. v. Maine Bd. of Env’t

Prot., 547 U.S. 370, 378 (2006) (internal quotation marks omitted); see Beecham v. United States,

511 U.S. 368, 371 (1994) (“That several items in a list share an attribute counsels in favor of

interpreting the other items as possessing that attribute as well.”). As noted above, the first and



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second clauses of Section 1512(c) are not items in a list of related terms; rather, they are distinct

offenses phrased in the disjunctive. 18 U.S.C. § 1512(c). That structure therefore does not lend

itself to application of noscitur a sociis. See De Bruhl-Daniels, 491 F. Supp. 3d at 251 (declining

to apply the noscitur a sociis canon to Section 1512(c)).

        Finally, the Yates plurality’s reliance on the rule of lenity has no application here. 14 The

rule of lenity “only applies if, after considering text, structure, history, and purpose, there remains

a grievous ambiguity or uncertainty in the statute, such that the Court must simply guess as to what

Congress intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010) (citation and internal quotation

marks omitted); see Shular v. United States, 140 S. Ct. 779, 789 (2020) (Kavanaugh, J.,

concurring). There is no grievous ambiguity here. Section 1512(c)(2)’s text, structure, history,

and purpose make clear that it functions as a broad catch-all prohibition on obstructive conduct

that covers “otherwise obstructive behavior that might not constitute a more specific” obstruction

offense. Petruk, 781 F.3d at 447 (internal quotation marks omitted).

        The plurality also found the rule of lenity “relevant” in part given the absence of limiting

principles under a broad construction of Section 1519. See Yates, 574 U.S. at 548. But neither of

the features that constrain Section 1512(c)(2)’s reach—the government’s requirement to establish

that the defendant acted “corruptly” and a nexus to a contemplated official proceeding, see supra,

17-22—is present in Section 1519. Section 1519 requires that the defendant act “knowingly” and

“with the intent to impede, obstruct, or influence,” 18 U.S.C. § 1519, but does not impose the more


14
  Justice Alito did not rely on several features that guide the plurality opinion, including the rule
of lenity. See 574 U.S. at 549 (noting that the case “should be resolved on narrow grounds,”
namely, “the statute’s list of nouns, its list of verbs, and its title,” but not discussing the Sarbanes-
Oxley Act, Section 1519’s placement within Chapter 73, the Supreme Court’s decision in Begay,
or the rule of lenity). It follows that that his controlling opinion, see supra note 13, makes even
more clear that Section 1512(c)(2) should not be interpreted differently than its text and structure
would suggest.

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stringent “corruptly” mens rea. And courts of appeals have uniformly concluded that Section 1519

does not include a “nexus” requirement. See United States v. Scott, 979 F.3d 986, 992 (2d Cir.

2020) (Supreme Court’s decisions in Marinello, Arthur Andersen, and Aguilar do not “overrule[]”

existing circuit precedent that Section 1519 “does not have a nexus requirement”); United States

v. Moyer, 674 F.3d 192, 209 (3d Cir. 2012) (declining to extend nexus requirement from Section

1503 and 1512(b)(2) to Section 1519); United States v. Kernell, 667 F.3d 746, 753-55 (6th Cir.

2012); United States v. Yielding, 657 F.3d 688, 712-14 (8th Cir. 2011); see also S. Rep. No. 107-

146, at 14-15 (“[Section 1519] is specifically meant not to include any technical requirement,

which some courts have read into other obstruction of justice statutes, to tie the obstructive conduct

to a pending or imminent proceeding or matter.”). 15

       To be sure, no court appears to have applied Section 1512(c)(2) to conduct precisely akin

to the defendants’ alleged actions, namely, confronting and assaulting law enforcement officers as

they forced their way into the Capitol—and all the way into the Gallery of the Senate Chamber—

in an effort to halt or delay a congressional proceeding. Even if Section 1512(c)(2)’s application

to this case was “not expressly anticipated by Congress,” that alone “does not demonstrate

ambiguity; instead, it simply demonstrates the breadth of a legislative command.” Bostock v.

Clayton Cnty., Georgia, 140 S. Ct. 1731, 1749 (2020) (internal quotation marks and brackets

omitted). That is so even if the statute’s application in a particular case “reaches ‘beyond the

principal evil’ legislators may have intended or expected to address.” Id. (quoting Oncale v.

Sundowner Offshore Servs., Inc., 523 U.S. 75, 79 (1998)). And any policy-based suggestion “that

the current scheme should be altered,” Intel Corp. Inv. Policy Comm. v. Sulyma, 140 S. Ct. 768,



15
  The defendants’ rule-of-lenity argument (Supp. Br. 43-45), which relies heavily on the Yates
plurality’s analysis, fails for the same reasons.

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778 (2020), ought to be addressed to Congress, not this Court, see, e.g., United States v. Rodgers,

466 U.S. 475, 484 (1984) (“Resolution of the pros and cons of whether a statute should sweep

broadly or narrowly is for Congress.”).

VI.     Even if Section 1512(c)(2) required that the obstructive act relate to
       documentary or tangible evidence, the defendants’ alleged conduct would be
       covered.

       At a bare minimum, Section 1512(c)(2) covers conduct that prevents the examination of

documents, records, and other nontestimonial evidence in connection with an official

proceeding. If, for example, the defendants had corruptly blocked the vehicle carrying the election

returns to the Capitol for congressional examination at the certification proceeding, that conduct

would clearly fit within Section 1512(c)(2). Section 1512(c)(2) would likewise cover blocking a

bus carrying the Members of Congress to the Capitol to examine the election returns at the

certification proceeding. And it just as readily covers displacing the Members of Congress from

the House and Senate Chambers, where they would examine and discuss those returns and other

records.

       No court following Yates has adopted an interpretation of Section 1512(c)(2) that limits it

to document-focused obstructive conduct. See, e.g., Petruk, 781 F.3d at 447-48; De Bruhl-Daniels,

491 F. Supp. 3d at 251; Cervantes, 2021 WL 2666684, at *6. But even were this Court to adopt

the limitation that Section 1512(c)(2) “requires some nexus to tangible evidence,” Singleton, 2006

WL 1984467, at *3, or a “tangible object,” Hutcherson, 2006 WL 270019, at *2, or “some conduct

that impairs the integrity and availability of some evidence,” Supp. Br. 21, the defendants’ alleged

conduct would still fall within the scope of Section 1512(c)(2) because the defendants “otherwise

obstruct[ed], influence[d], or impede[d]” Congress’s ability to review documents that it was




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constitutionally and statutorily required to receive and act upon, thereby obstructing the

certification of the Electoral College vote.

        The certification of the Electoral College vote is rooted in federal constitutional and

statutory law that requires the creation and consideration of various documents. Under the Twelfth

Amendment, the state Electors must “vote by ballot,” marking one set of ballots for the individual

voted for as President and “distinct ballots” for the vice-presidential selection. U.S. Const. amend.

XII. The Electors must then create “lists” of the presidential and vice-presidential candidates who

received votes, “which lists they shall sign and certify, and transmit sealed to the seat of the

government of the United States.” Id. These certified lists, or “certificates,” are then opened by

the President of the Senate “in the presence of the Senate and House of Representatives.” Id. After

opening them, the President of the Senate hands the certificates to two appointed “tellers,” who in

turn create a new “list” that comprises “the votes as they shall appear from the said certificates.”

3 U.S.C. § 15. During the reading of the certificates, the President of the Senate must open the

floor to objections; any objection “shall be made in writing . . . and shall be signed by at least one

Senator and one Member of the House of Representatives.” Id. Congress’s certification of the

Electoral College vote, therefore, operates through a deliberate and legally prescribed assessment

of ballots, lists, certificates, and, potentially, written objections.

        Had the defendants sought to alter or destroy any of those documents, they also would have

violated Section 1512(c)(1). Instead, the defendants allegedly sought to stop the Members of

Congress from reviewing those constitutionally and statutorily mandated documents at a

proceeding to certify the results of the 2020 presidential election. Because the defendant’s alleged

conduct thus precluded a full and fair examination of physical or documentary evidence at an

official proceeding, the indictment’s allegations would satisfy any extratextual “requirement” in



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Section 1512(c)(2) “for some nexus to a document or other tangible evidence.” Singleton, 2006

WL 1984467, at *5.

       The defendants’ claim (Supp. Br. 23-26) that Electoral College vote certificates and other

related documents are not “evidence” fails in two distinct respects. First, to the extent Section

1512(c)(2) is construed as a residual clause linked to Section 1512(c)(1), that latter provision refers

not to “evidence,” but instead to “a record, document, or other object” that that will be “use[d]” in

an official proceeding. 18 U.S.C. § 1512(c)(1). Not every “record, document, or other object”

that is “use[d]” in an official proceeding will necessarily amount to “evidence.” For example, the

“Journal” of “Proceedings” that each House must maintain and occasionally publish, see U.S.

Const. art. 1, § 5, is a document or record that is used in official (i.e., congressional) proceedings

regardless of whether the information that Journal contains constitutes “evidence.” And in the

defendants’ case, there is no question that the Electoral College certificates were “use[d]” in the

certification proceeding on January 6.

       The defendants’ argument also fails on its own terms. They suggest a distinction (Supp.

Br. 24) between “evidence,” which tends to prove or disprove a fact, and a “vote,” which reflects

an “opinion.”    But if an alleged obstructive act is tampering with or otherwise rendering

unavailable votes, then those votes become evidence. The same would be true in the defendants’

case, where they are alleged to have tampered with the official proceeding in which those votes

are counted and certified. Equally flawed is the defendants’ contention (id. at 24-25) that the

certificates do not amount to evidence because they are not akin to a “witness to an alleged crime”

or establish “some conduct [that] has violated the law.” Witness testimony and documents need

not be incriminating to qualify as evidence; admissible evidence may, for example, establish a

person’s presence in a certain location or a potential motive for criminal conduct. Finally, the



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defendants liken (Supp. Br. 25-26) the certification of the Electoral College vote to the filing of a

mandamus petition, arguing that such a petition in the hands of a filing clerk is not evidence. But

if a mob surged into the courthouse to prevent the clerk from filing the petition in an effort to

forestall the relief sought in that petition, it would qualify as evidence under those circumstances.

The same is true of the certificates in the defendants’ case.

                                        CONCLUSIO N

       For the reasons given here and in the government’s opposition to the defendants’ motion

to dismiss (ECF 41), the Court should deny that dismissal motion.



                                       Respectfully submitted,

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